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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                                      NO. 4:17cr00319 JM

MORGAN STEPHEN POOLE (1)
NATHANIEL BURROUGHS (2)                                                       DEFENDANTS


                                               ORDER

          Pending before the Court is the Defendant Nathaniel Burroughs’ motion for continuance

(Docket No. 27) of his trial date currently scheduled for June 18, 2018.

          The Court has fully considered the motion for continuance and finds that the interests of

justice served by granting the continuance outweigh the best interests of the public and the

defendant for a speedy trial in that the issues are such that to deny the motion would deny

counsel for the defendant the reasonable time necessary for effective preparation for trial and

inherent development of any and all proper defenses which might be averred in the defendant's

behalf.

          No severance has been granted on behalf of any defendant. Because they are jointly

indicted as co-conspirators in the same conspiracy, their trial date should be conducted on the

same date.

          IT IS THEREFORE ORDERED that defendant Nathaniel Burroughs’ motion for

continuance be, and is hereby, GRANTED. (Docket No. 27) Therefore, this matter is

rescheduled for trial to a jury to commence at 9:15 a.m. on MONDAY, DECEMBER 10, 2018.

Counsel are to be present thirty minutes prior to trial and are directed to electronically submit

jury instructions to the Court on or before November 30, 2018, to

jmchambers@ared.uscourts.gov.
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       IT IS FURTHER ORDERED that the delay occasioned by this continuance shall be

excludable under the provisions of the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) as to

Defendant Nathaniel Burroughs and 18 U.S.C. § 3161(h)(6) as to Defendant Morgan

Stephen Poole.

       Dated this 7th day of June, 2018.




                                                    JAMES M. MOODY JR.
                                                    UNITED STATES DISTRICT JUDGE
